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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

        v.
                                                      Criminal No. 21-46 (RDM)
 PATRICK MONTGOMERY,

                Defendant.


                                             ORDER

       Pending before the Court is the government’s motion to revoke Defendant’s pretrial

release. Dkt. 31. Under 18 U.S.C. § 3148(b), the Court is required to “enter an order of

revocation and detention if, after a hearing,” the Court “finds that there is probable cause to

believe that the person has committed a Federal, State, or local crime while on release” and also

finds that “the person is unlikely to abide by any condition or combination of conditions of

release.” Here, the Court concludes that there is probable cause to believe that Defendant

committed a crime under federal law by possessing a firearm despite having been previously

convicted of a felony, in violation of 18 U.S.C. § 922(g). The Court further concludes that

Defendant is unlikely to abide by any condition or combination of conditions of release, given

that he violated the conditions of his pretrial release by possessing a firearm. See Dkt. 8 at 2

(ordering Defendant “not [to] possess illegal firearms”). The statute thus mandates that the

Court revoke Defendant’s pretrial release.

       For these reasons and the reasons stated on the record, see Minute Entry (May 14, 2021),

it is hereby ORDERED that the government’s motion to revoke Defendant’s pretrial release,

Dkt. 31, is GRANTED. It is further ORDERED that Defendant’s pretrial release is

REVOKED and that he shall be detained pending trial. Defendant shall surrender by 2 p.m.
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eastern time—noon mountain time—on May 17, 2021, to the United States Marshals at the

Alfred A. Arraj Courthouse, 901 19th Street, Suite 300, Denver, CO 80294. The Court grants

the motion without prejudice to any alternate conditions for pretrial release upon which

Defendant and the government may be able to agree and to propose to the court before 2 p.m. on

May 17, 2021.

       SO ORDERED.




                                                            ____________________
                                                            RANDOLPH D. MOSS
                                                            United States District Judge

Date: May 14, 2021




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